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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                          Plaintiff,

                  vs.                                                 No. 18-cr-02945-WJ

JANY LEVEILLE, et al.,

                          Defendants.

       ORDER GRANTING UNOPPOSED JOINT MOTION TO EXTEND PRETRIAL
                          MOTION DEADLINES

          THIS MATTER IS BEFORE THE COURT on Defendants’ Unopposed Joint Motion to

Extend Pretrial Deadlines, filed September 12, 2019 [Doc. 143]. The Court having reviewed the

Motion and the Motion being unopposed, finds the Motion is well-taken and should be granted.

          IT IS THEREFORE ORDERED that the Pretrial Motion Deadlines shall be extended for

all Defendants as follows:

                   Task                    Current Deadline     Extension       New Deadline1

    Defendants to complete all discovery September 13, 2019 60 days           November 12, 2019
    including expert disclosures
    Discovery motions                    October 11, 2019   60 days           December 10, 2019

    Daubert Motions                       October 11, 2019      60 days       December 9, 2019

    Daubert Responses                     October 25, 2019      60 days       December 23, 2019

    Daubert Replies                       November 1, 2019      60 days       January 6, 2019




                                               _____________________________________
                                               HONORABLE WILLIAM P. JOHNSON
                                               United States District Court Judge

1
    Some deadlines have been adjusted slightly to account for the holidays.
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Submitted by:

 /s/ Ryan J. Villa
RYAN J. VILLA
Counsel for Subhanah Wahhaj

Approved:

 /s/ George Kraehe
George Kraehe
Assistant United States Attorney
